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                   EXHIBIT I
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Claim 1                           eTech Parts Plus 822-9401 OLED Display (“ETP-822-9401”)

1[pre] A stage circuit having a   The ETP-822-9401 includes an organic light-emitting diode (“OLED”) display.
first input terminal, a second
input terminal, a third input
terminal, and an output
terminal, the stage circuit
comprising:
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Claim 1                           eTech Parts Plus 822-9401 OLED Display (“ETP-822-9401”)

[1pre] A stage circuit having a   The ETP-822-9401 contains a scan driver with a plurality of stage circuits (red dashed lines)., as
first input terminal, a second    shown in the annotated image below.
input terminal, a third input
terminal, and an output
terminal, the stage circuit
comprising:

(cont’d)
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Claim 1                           eTech Parts Plus 822-9401 OLED Display (“ETP-822-9401”)

1[pre] A stage circuit having a   As shown in the annotated image below, a stage circuit of the ETP-822-9401 has a first input
first input terminal, a second    terminal (e.g., IN1), a second input terminal (e.g., IN2), a third input terminal (e.g., IN3), and an
input terminal, a third input     output terminal (e.g., OUT1).
terminal, and an output
terminal, the stage circuit
comprising:

(cont’d)




                                  The figure below is a representative circuit diagram of the stage circuit of the ETP-822-9401:
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Claim 1                             eTech Parts Plus 822-9401 OLED Display (“ETP-822-9401”)

1[a] an outputting unit having a    The ETP-822-9401 contains a stage circuit that has an outputting unit having a first node and a
first node and a second node,       second node, the outputting unit to supply a voltage of a first power supply to the output terminal
the outputting unit to supply a     according to a voltage applied to the first node and a signal of the third input terminal to the
voltage of a first power supply     output terminal according to a voltage applied to the second node. As shown in the annotated
to the output terminal              image below, the outputting unit comprises at least transistors T4 and T5 and capacitors C1 and
according to a voltage applied      C2. The outputting unit has a first node between the gates of transistors T3 and T4 and a second
to the first node and a signal of   node between the gate of transistor T5 and the output of the first driver (see claim element 1[b],
the third input terminal to the     below)).
output terminal according to a
voltage applied to the second
node;




                                    For example, as shown in the annotated image above, transistors T4 and T5 supply a voltage to
                                    OUT1 depending upon the voltage between the gates of transistors T3 and T4 and the voltage
                                    between the gate of transistor T5 and the output of the first driver (see claim element 1[b],
                                    below). VGH is coupled to an electrode of transistor T4, such that when a voltage is applied to
                                    the node between the gates of transistors T3 and T4, transistor T4 is turned on and VGH is
                                    supplied to OUT1. OUT1 is coupled to an electrode of transistor T5 such that when a voltage is
                                    applied to a node between the gate of transistor T5 and the output of the first driver, transistor T5
                                    is turned on and IN3 is supplied to OUT1.
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Claim 1                              eTech Parts Plus 822-9401 OLED Display (“ETP-822-9401”)

1[b] a first driver to control the   The ETP-822-9401 contains a stage circuit that has a first driver to control the voltage of the
voltage of the second node in        second node in accordance with signals of the first input terminal, the second input terminal, and
accordance with signals of the       the third input terminal. As shown in the annotated image below, the stage circuit contains a first
first input terminal, the second     driver comprising at least transistors T1, T2, and T3. The first input terminal (e.g., IN1) is
input terminal, and the third        coupled to an electrode of transistor T1. The second input terminal (e.g., IN2) is coupled to the
input terminal; and                  gate electrode of transistor T1. The third input terminal (e.g., IN3) is coupled to the gate electrode
                                     of transistor T2. The first driver thereby controls the voltage of the second node (e.g., the voltage
                                     between the gate of transistor T5 and the output of the first driver) in accordance with the signals
                                     of the first input terminal (e.g., IN1), the second input terminal (e.g., IN2), and third input
                                     terminal (e.g., IN3).




                                     For example, as shown in the annotated image above, IN1 is coupled to transistor T1, and the gate
                                     electrode of transistor T1 is coupled to IN2. The transistors T2 and T3 are coupled in series to the
                                     drain of transistor T1, and IN3 is coupled to the gate electrode of transistor T2. The signals
                                     applied to IN1, IN2, and IN3 thus control the voltage between the output of the first driver and
                                     the gate of transistor T5.
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Claim 1                            eTech Parts Plus 822-9401 OLED Display (“ETP-822-9401”)

1[c] a second driver to control    The ETP-822-9401 contains a stage circuit that has a second driver to control the voltage of the
the voltage of the first node in   first node in accordance with the signal of the second input terminal and the voltage of the second
accordance with the signal of      node. As shown in the annotated image below, the stage circuit contains a second driver
the second input terminal and      comprising at least transistors T6 and T7. The signal of the second input terminal (e.g., IN2) is
the voltage of the second node,    applied to the gate electrode of transistor T7, which controls the voltage of the first node (e.g., the
                                   voltage between the gates of transistors T3 and T4). The signal of the second input terminal (e.g.,
                                   IN2) is also provided to an electrode of transistor T6. The voltage of the second node (e.g., the
                                   voltage between the gate electrode of transistor T5 and the output of the first driver) is applied to
                                   the gate electrode of transistor T6, which controls the voltage of the first node (e.g., the voltage
                                   between the gate electrodes of transistors T3 and T4).




                                   For example, as shown in the annotated image above, IN2 is coupled to the gate of transistor T7,
                                   which is coupled between VGL and the node between the gates of transistors T3 and T4. The
                                   signal at IN2 controls whether VGL is applied between the gates of transistors T3 and T4. The
                                   transistor T6 is coupled between the gates of transistors T3 and T4 and IN2, and the voltage at
                                   the output of the first driver is coupled to the gate of transistor T6, thereby controlling when
                                   transistor T6 is on. When transistor T6 is on, it couples the node between the gates of transistors
                                   T3 and T4 to the signal present on IN2.
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Claim 1                           eTech Parts Plus 822-9401 OLED Display (“ETP-822-9401”)

1[d] wherein the signal of the    The ETP-822-9401 contains a stage circuit in which the signal of the third input terminal directly
third input terminal directly     controls an on/off operation of a transistor, the transistor included in the first driver. As shown in
controls an on/off operation of   the annotated image below, the third input terminal (e.g., IN3) is coupled to the gate electrode of
a transistor, the transistor      transistor T2 and the signal of the third input terminal (e.g., IN3) directly controls the on/off
included in the first driver.     operation of transistor T2. As described above for claim element 1[b], transistor T2 is included in
                                  the first driver.
